Case 6:23-cv-01486-CEM-LHP Document 16 Filed 10/24/23 Page 1 of 2 PageID 43




                          UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                   ORLANDO DIVISION


   JAMES A. DUNHAM,

                      Plaintiff,

   v.                                            Case No: 6:23-cv-1486-CEM-LHP

   BONDIO LLC and JOSEPH
   MIRAKHOR,

                      Defendants




                                         ORDER

         This cause came on for consideration without oral argument on the following

   motion filed herein:

         MOTION: MOTION FOR CLERK’S DEFAULT (Doc. No. 13)

         FILED:       October 10, 2023



         THEREON it is ORDERED that the motion is DENIED as moot.

         Plaintiff has filed an amended motion. Doc. No. 14.

         MOTION: AMENDED MOTION FOR CLERK’S DEFAULT
                 AND SUPPORTING MEMORANDUM OF LAW
                 (Doc. No. 14)

         FILED:       October 18, 2023
Case 6:23-cv-01486-CEM-LHP Document 16 Filed 10/24/23 Page 2 of 2 PageID 44




         THEREON it is ORDERED that the motion is GRANTED.

         Upon review of the motion and the returns of service (Doc. Nos. 8–9, 14), the

   Court finds the motion well taken, and that both Defendants have been properly

   served. See generally United States v. Donald, Case No. 3:09-cv-147-J-32HTS, 2009

   WL 1810357, at *1 (M.D. Fla. June 24, 2009) (before a Clerk’s default can be entered

   against a defendant, the Court must determine that the defendant was properly

   served). Accordingly, the motion (Doc. No. 14) is GRANTED, and the Clerk of

   Court is DIRECTED to enter default against Defendants Bondio LLC and Joseph

   Mirakhor. Further, upon review of Plaintiff’s response (Doc. No. 15), the Court’s

   Order to Show Cause (Doc. No. 12) is hereby DISCHARGED.

         DONE and ORDERED in Orlando, Florida on October 24, 2023.




   Copies furnished to:

   Counsel of Record
   Unrepresented Parties




                                           -2-
